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               EXHIBIT C
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Burnham & Gorokhov, PLLC Mail - Clark                                                                                      10/15/22, 4:45 PM




                                                                                       Charles Burnham <charles@evgpllc.com>



 Clark
 Harry MacDougald <hmacdougald@ccedlaw.com>                                                              Mon, Oct 3, 2022 at 2:57 PM
 To: Phil Fox <foxp@dcodc.org>
 Cc: "robert.destro@protonmail.com" <robert.destro@protonmail.com>, Charles Burnham
 <charles@burnhamgorokhov.com>

    Phil:

    Here you go.



    -----
    Harry W. MacDougald
    Caldwell, Carlson, Elliott & DeLoach, LLP
    Two Ravinia Drive
    Suite 1600
    Atlanta, Georgia 30346
    404-843-1956
    Direct: 404-843-4109

    From: hmacdougald@ccedlaw.com <hmacdougald@ccedlaw.com>
    Date: October 3, 2022 at 2:08:40 PM
    To: Phil Fox <foxp@dcodc.org>
    Subject: RE: [EXT]Re: Clark


            Thanks for the quick response.

            We’ll be back to you by 3.

            -----
            Harry W. MacDougald
            Caldwell, Carlson, Elliott & DeLoach, LLP
            Two Ravinia Drive
            Suite 1600
            Atlanta, Georgia 30346
            404-843-1956
            Direct: 404-843-4109

            From: Phil Fox <foxp@dcodc.org>
            Date: October 3, 2022 at 1:32:27 PM
            To: Harry MacDougald <hmacdougald@ccedlaw.com>
            Subject: RE: [EXT]Re: Clark


                     I am not going to agree that you can seek judicial review of the

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                     jurisdictional issues before the hearing. We do not conduct
                     depositions or take written or recorded statements from the
                     witnesses. I agree that you are entitled to any exculpatory
                     information, but we have none. 4:15 is too late. If you can’t get me
                     an answer as to the proposed dates by 3:00 and if they are
                     unavailable, when available dates might be, I will simply attach
                     these emails to the statement I file and suggest that the Chair take
                     the matter up at Thursday’s hearing.
                     [Quoted text hidden]




          Response to Order to Set Schedule Final.docx
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